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                                                                    December 22, 2016

       BY ECF
       Honorable Brian M. Cogan
       United States District Judge
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York 11201

                             Re: Lucio Celli v. Richard Cole et al., 15 Civ. 3679 (BMC) (LB)

       Dear Judge Cogan:

                      I am the Assistant Corporation Counsel assigned to represent Richard Cole, Anne
       Bernard, and the Department of Education. 1 Defendants write to request a conference to discuss
       the imposition of sanctions against plaintiff for his vexatious and abusive conduct directed at
       defendants, counsel, non-parties, and the Court.

                       United States District Courts have inherent authority to sanction a party appearing
       before it who acts in bad faith, vexatiously, wantonly, or for oppressive reasons. See Chambers
       v. NASCO, Inc., 501 U.S. 32, 45-46 (1991). The "[s]pecial solicitude" afforded to pro se
       litigants in the Second Circuit "does not extend to the willful, obstinate refusal to play by the
       basic rules of the system upon whose very power the plaintiff is calling to vindicate his rights."
       McDonald v. Head Criminal Court Supervisor Officer, 850 F.2d 121, 124 (2d Cir. 1988).

                      Last night, between 10:06 p.m. and 11:38 p.m., Mr. Celli sent several emails
       dozens of times to Corporation Counsel Zachary W. Carter, Department of Education General
       Counsel Howard Friedman, eight employees of the Department of Education, myself, and
       several non-parties, including U.S. Attorney Preet Bharara. The emails were addressed to Mr.
       Friedman, the General Counsel of a represented party. On July 13, 2016, I asked Mr. Celli not to
       directly communicate with members of the Department of Education about this litigation because
       they are represented by counsel.

       1
        Upon information and belief, Grismaldy Laboy-Wilson, Courtenaye Jackson-Chase, Esq., and
       Ms. Susan Mandel, Esq., have not been served.
HONORABLE BRIAN M. COGAN
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                Mr. Celli’s emails last night ignore my July 13th admonishment and are an
intentional effort to harass the defendants. Mr. Celli sent his emails what is believed to be a total
of seventy-two times in order to overwhelm the recipients’ email mailboxes. Moreover, he
clearly stated his intent in both the opening and closing lines of one such email:

               Dear Mr. Freidman: since you want to get away with a
               crime by ignoring me ... it is time to annoy you asshol [sic]
               . . . . [n]o one have [sic] the fucking right to commit a crime
               against me and I’m going to do this daily until your corrupt
               ass answers me…this makes me happy and not therapy
               because you mother fuckers are in my head because you
               keep on saying a document fucking exist [sic] and I never
               and ever seen these documents you fucking bastard…your
               mother should have swallowed you . . . I’m going to haunt
               you mother fuckers until I get a fucking answer.

Mr. Celli’s emails last night came after three additional emails of a similar tone sent yesterday,
one of which was addressed to me. Defendants will provide the Court with copies of the 75
emails from Mr. Celli upon request.

                Mr. Celli’s Court filings on December 12, 2016, incorporate similar profane and
disrespectful language. Obviously dissatisfied with the Court’s orders dated October 26, 2016,
and December 8, 2016, and the deadline set for Mr. Celli’s response to my pre-motion letter, Mr.
Celli now has resorted to spamming my clients, my office colleagues, and various third parties
with his profanity-laced diatribes.

               Thank you for your consideration of this request.


                                                              Respectfully submitted,

                                                              /s/ Michael Nacchio

                                                              Michael Nacchio
                                                              Assistant Corporation Counsel

cc:    Mr. Lucio Celli
       (By E-mail and US Mail)
